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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                         Plaintiffs,                                      8:16CR76

       vs.
                                                                           ORDER
RACHEL HUMPHREY,

                         Defendant.


        This matter is before the court on defendant's UNOPPOSED MOTION FOR ADDITIONAL
TIME TO FILE PRETRIAL MOTIONS [82]. For good cause shown, I find that the motion should
be granted. The defendant will be given an approximate 21-day extension. Pretrial Motions shall be
filed by May 12, 2016.
        IT IS ORDERED:
        1.      Defendant's UNOPPOSED MOTION FOR ADDITIONAL TIME TO FILE
PRETRIAL MOTIONS [82] is granted. Pretrial motions shall be filed on or before May 12, 2016.
        2.      The defendant is ordered to file the affidavit required by NECrimR 12.1(a) regarding
speedy trial as soon as practicable.
        3.      The ends of justice have been served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. The additional time arising as a result of
the granting of the motion, i.e., the time between April 21, 2016 and May 12, 2016, shall be deemed
excludable time in any computation of time under the requirement of the Speedy Trial Act for the
reason defendant's counsel required additional time to adequately prepare the case, taking into
consideration due diligence of counsel, and the novelty and complexity of this case. The failure to
grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).




        Dated this 22nd day of April, 2016

                                                        BY THE COURT:
                                                        s/ F.A. Gossett, III
                                                        United States Magistrate Judge
